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 UNITED STATESDISTRICTCOURT
 EASTERNDISTRICTOF NEW YORK


                                                            No. 15 CV7105(PKC)(;0)
 DESMONDGongs

                               Plaintiff
                                                      STIPULATIONOF DISMISSALAND
                    against-                           WITHDRAWAL        WITH PREJUDICE

 CITY OF NEW YORK, ET AL

                               Defendants




        IT IS HEREBY STIPULATED             AND AGREED, by the attomeys for the parties herein

 that: Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure that any and all

 claims against defendantTHOMAS NAPOLITANO are dismissed with prejudice

 Dated: New York. New York
        March 3, 2017

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